Case 1:23-cv-00108-LMB-JFA Document 519-4 Filed 02/02/24 Page 1 of 3 PageID# 7857


   From:            LEONARD, Claire
   To:              Freeman, Michael (ATR); craig.reilly@ccreillylaw.com; Dunn, Karen L; GARRETT, Tyler; Ali Vissichelli; Amy Mauser; EWALT, Andrew
                    (AJE); Bradley Justus; cgreenbaum@paulweiss.com; Daniel Bitton; dpearl@axinn.com; MAHR, Eric (EJM); Erica Spevack; Morgan,
                    Erin J; jhunsberger@axinn.com; BAYOUMI, Jeanette; Rhee, Jeannie S; Joseph Bial; ELMER, Julie (JSE); SESSIONS, Justina (JKS);
                    Lee, Kenina J.; KAPLIN, Lauren; Goodman, Martha; SALEM, Sara; EISMAN, Scott; wisaacson@paulweiss.com
   Cc:              Wood, Julia (ATR); Wolin, Michael (ATR); Strick, Amanda (ATR); morgan.feder@ag.ny.gov; thenry@oag.state.va.us; Lauren
                    Pomeroy; Vernon, Jeffrey (ATR); Clemons, Katherine (ATR); Nakamura, Brent (ATR)
   Subject:         [EXTERNAL] RE: Linked Document Request
   Date:            Monday, November 20, 2023 9:55:23 PM


   Counsel,

   Pursuant to the ESI Order (ECF No. 142), Google has made a reasonable search for the linked documents requested in
   your November 13, 2023 email. Please find below our responses for each linked document you requested.


     Bates Number                          Links Requested                                               Google’s Response

    GOOG-DOJ-AT                                                                         Following a reasonable search, we were
    00062980                                                                            unable to identify this document

                                                                                        GOOG-DOJ-28501618


    GOOG-DOJ-                                                                           GOOG-AT-MDL-019549617
    07825115

                                                                                        GOOG-DOJ-AT-02477596
                                                                                        GOOG-AT-MDL-007393486
                                                                                        GOOG-DOJ-11247631 GOOG-AT-MDL-
                                                                                        017270497
                                                                                        GOOG-AT-MDL-018646606



                                                                                        GOOG-AT-MDL-B-002043390
                                                                                        GOOG-DOJ-05326023
                                                                                        GOOG-DOJ-28513585
                                                                                        GOOG-DOJ-15231818
                                                                                        GOOG-AT-MDL-007372032
                                                                                        GOOG-AT-MDL-018512867
                                                                                        GOOG-AT-MDL-018639320

                                                                                        Following a reasonable search, we were
                                                                                        unable to identify this document

                                                                                        We do not see a “slides here” link in GOOG-
                                                                                        DOJ-07825115

    GOOG-DOJ-                                                                           GOOG-AT-MDL-007337525
    13463955                                                                            Priv Log No. GGPL-3020089672

                                                                                        GOOG-DOJ-15797463


                                                                                        GOOG-DOJ-13522137

                                                                                        GOOG-AT-MDL-007387750
                                                                                        GOOG-AT-MDL-016927030
                                                                                        GOOG-AT-MDL-019549560

                                                                                        GOOG-DOJ-15797463




   Best regards,
   Claire
Case 1:23-cv-00108-LMB-JFA Document 519-4 Filed 02/02/24 Page 2 of 3 PageID# 7858



   Claire Leonard
   Senior Associate
   T +1 (202) 777-4764 | M +1 (771) 216-0710




   From: Freeman, Michael (ATR) <Michael.Freeman@usdoj.gov>
   Sent: Monday, November 13, 2023 11:37 AM
   To: craig.reilly@ccreillylaw.com; Dunn, Karen L <kdunn@paulweiss.com>; GARRETT, Tyler
   <Tyler.Garrett@freshfields.com>; Ali Vissichelli <avissichelli@axinn.com>; Amy Mauser
   <amauser@paulweiss.com>; EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>; Bradley Justus
   <bjustus@axinn.com>; cgreenbaum@paulweiss.com; LEONARD, Claire <Claire.Leonard@freshfields.com>; Daniel
   Bitton <dbitton@axinn.com>; dpearl@axinn.com; MAHR, Eric (EJM) <Eric.MAHR@freshfields.com>; Erica Spevack
   <espevack@paulweiss.com>; Morgan, Erin J <ejmorgan@paulweiss.com>; jhunsberger@axinn.com; BAYOUMI,
   Jeanette <Jeanette.Bayoumi@freshfields.com>; Rhee, Jeannie S <jrhee@paulweiss.com>; Joseph Bial
   <jbial@paulweiss.com>; ELMER, Julie (JSE) <Julie.Elmer@freshfields.com>; SESSIONS, Justina (JKS)
   <Justina.Sessions@freshfields.com>; Lee, Kenina J. <klee@axinn.com>; KAPLIN, Lauren
   <lauren.kaplin@freshfields.com>; Goodman, Martha <mgoodman@paulweiss.com>; SALEM, Sara
   <Sara.Salem@freshfields.com>; EISMAN, Scott <Scott.Eisman@freshfields.com>; wisaacson@paulweiss.com
   Cc: Wood, Julia (ATR) <Julia.Tarver.Wood@usdoj.gov>; Wolin, Michael (ATR) <Michael.Wolin@usdoj.gov>; Strick,
   Amanda (ATR) <Amanda.Strick@usdoj.gov>; morgan.feder@ag.ny.gov; thenry@oag.state.va.us; Lauren Pomeroy
   <Lauren.Pomeroy@doj.ca.gov>; Vernon, Jeffrey (ATR) <Jeffrey.Vernon@usdoj.gov>; Clemons, Katherine (ATR)
   <Katherine.Clemons@usdoj.gov>; Nakamura, Brent (ATR) <Brent.Nakamura@usdoj.gov>
   Subject: Linked Document Request

   Counsel:

   As we have noted previously, the ESI Order (ECF No. 142, PageID 1155) states, a “receiving party may also make
   reasonable and proportionate requests that the producing party conduct a reasonable search for relevant
   documents identified via hyperlinks.”

   Accordingly, we are requesting Google make a reasonable search for the following linked document and provide
   the responses by Wednesday (11/15). The requested document is underlined. For some of the documents, the
   metadata has Bates numbers for linked documents, but without the underlying URLs, we do not have a way of
   determining which Bates number goes with which hyperlink in the document. As such, please indicate which
   Bates number goes with which link.

       1. GOOG-DOJ-AT 00062980 –

       2. GOOG-DOJ-07825115 at p. -116,




       3. GOOG-DOJ-13463955




   Thank you.

   Michael J. Freeman | Trial Attorney
   U.S. Department of Justice, Antitrust Division
Case 1:23-cv-00108-LMB-JFA Document 519-4 Filed 02/02/24 Page 3 of 3 PageID# 7859


   450 5th Street, N.W. Washington, D.C. 20530
   (202) 213-2774 (Cell Phone)
   Michael.Freeman@usdoj.gov
   Pronouns: He, Him, His


   This e-mail is confidential and may be legally privileged. If you have received it in error, you are on notice of its status.
   Please notify us immediately by reply e-mail and then delete this message from your system. Please do not copy it, use
   it for any purpose or disclose its contents to any other person; to do so could be a breach of confidentiality. Thank you
   for your cooperation. Please contact our IT Helpdesk at GlobalITServiceDesk@freshfields.com if you need assistance.

   Freshfields Bruckhaus Deringer US LLP has offices in New York, Silicon Valley and Washington, DC. Freshfields
   Bruckhaus Deringer LLP is a limited liability partnership registered in England and Wales with registered number
   OC334789, and has offices or associated entities in Austria, Bahrain, Belgium, China, England, France, Germany,
   Hong Kong, Italy, Japan, the Netherlands, Singapore, Spain, the United Arab Emirates and Vietnam.

   Any reference to a partner means a member, or a consultant or employee with equivalent standing and qualifications, of
   Freshfields Bruckhaus Deringer US LLP, Freshfields Bruckhaus Deringer LLP or any associated firms or entities.

   For information about how Freshfields Bruckhaus Deringer processes personal data please refer to this Privacy notice.
   For further information about Freshfields Bruckhaus Deringer, please refer to our website at www.freshfields.com.
